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   9   562-927-1400

 10    Attorney for Defendant 1721 KATELLA LLC
 11
                           UNITED STATES DISTRICT COURT
 12
                         CENTRAL DISTRICT OF CALIFORNIA
 13
 14
          JAMES RUTHERFORD, an            Case No.: 8:20-cv-01620-MCS-ADS
 15       individual,
 16                                       Hon. Mark C. Scarsi
          Plaintiff,
 17                                            JOINT STIPULATION FOR
 18       v.                                   DISMISSAL OF THE ENTIRE
                                               ACTION WITH PREJUDICE
 19       1721 KATELLA, LLC, a
 20       California limited liability    Complaint Filed: August 28, 2020
          company; and DOES 1-10,         Trial Date: None
 21       inclusive,
 22
          Defendants.
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 24
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          JOINT STIPULATION FOR DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
Case 8:20-cv-01620-MCS-ADS Document 23 Filed 12/04/20 Page 2 of 2 Page ID #:117

   1         TO THE COURT AND ALL PARTIES:
   2         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,
   3   Plaintiff JAMES RUTHERFORD (“Plaintiff”) and 1721 KATELLA LLC
   4   (“Defendant”), stipulate and jointly request that this Court enter a dismissal with
   5   prejudice of Plaintiff’s Complaint in the above-entitled action, in its entirety. Each
   6   party shall bear his or its own attorneys’ fees, expert fees, and costs.
   7
   8         IT IS SO STIPULATED.
   9
                                             Respectfully submitted,
 10
 11                                          MANNING LAW, APC
       DATED: December 4, 2020
 12                                          By: /s/ Joseph R. Manning, Jr.
 13                                            Joseph R. Manning, Jr.
                                               Attorney for Plaintiff
 14                                            James Rutherford
 15
 16
                                              LAW OFFICE OF JOHN A.
 17    DATED: December 4, 2020
                                              BUNNETT
 18
 19                                           By: /s/ John A. Bunnett
 20                                             John A. Bunnett
                                                Attorneys for Defendant
 21                                             1721 Katella LLC
 22
 23                   Certification Pursuant to Local Rule 5-4.3.4(a)(2)(i)
 24          Pursuant to Local Rule 5-4.3.4(a)(2)(i), I, Joseph R. Manning, Jr., hereby do
 25    attest that all signatories listed, and on whose behalf the filing is submitted, concur
 26    in the filing’s content and have authorized the filing.
 27
 28    DATED: December 4, 2020                 By: /s/ Joseph R. Manning, Jr.


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           JOINT STIPULATION FOR DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
